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                                                 Table A-18: MCAT Scores and GPAs for Applicants and Matriculants to U.S. MD-Granting Medical Schools by Race/Ethnicity, 2022-2023
                2022

        The table below displays the MCAT scores, GPAs, and self-identified racial and ethnic characteristics of applicants and matriculants to U.S. MD-granting medical schools from 2022-2023. MCAT scores and GPAs are displayed by mean and standard
        deviation (SD). The "Multiple Race/Ethnicity" category includes those who selected more than one race/ethnicity response. Please email datarequest@aamc.org if you need further assistance or have additional inquiries.
                                                                                                                                                                                                                             Non-U.S. Citizen and
                                         American Indian                        Black or         Hispanic, Latino, or      Native Hawaiian or                                          Multiple       Unknown
                Matriculants                                    Asian                                                                                   White           Other                                                 Non-Permanent                 Total
                                         or Alaska Native                  African American       of Spanish Origin       Other Pacific Islander                                     Race/Ethnicity Race/Ethnicity
                                                                                                                                                                                                                                  Resident
        MCAT CPBS             Mean                 125.7         128.8                126.1                     126.4                      126.9           128.0           127.9              127.7                128.2                   128.4             127.9
                              SD                     2.5            2.0                  2.1                       2.2                       1.7              2.1            1.9                 2.2                 2.1                     2.2                2.2
        MCAT CARS             Mean                 125.6         127.3                125.3                     125.2                      126.2           127.4           126.4              126.9                127.4                   126.6             127.0
                              SD                     2.4            2.2                  2.3                       2.6                       1.7              2.2            2.4                 2.4                 2.1                     2.5                2.4
        MCAT BBLS             Mean                 126.3         128.9                126.5                     126.9                      127.3           128.3           128.4              128.0                128.6                   128.7             128.2
                              SD                     1.9            1.9                  2.1                       2.1                       2.2              2.0            2.0                 2.1                 1.9                     2.1                2.1
        MCAT PSBB             Mean                 127.3         129.5                127.6                     127.6                      128.4           129.0           129.0              128.7                129.2                   129.1             128.9
                              SD                     2.4            1.8                  2.1                       2.4                       1.8              1.9            1.8                 2.0                 1.8                     2.0                2.0
        Total MCAT            Mean                 504.9         514.4                505.7                     506.1                      508.9           512.6           511.7              511.2                513.4                   512.8             511.9
                              SD                     6.7            6.0                  6.4                       7.3                       5.9              5.9            5.9                 6.5                 5.9                     6.9                6.7
        GPA Science           Mean                  3.40           3.75                 3.42                      3.52                      3.59             3.73           3.71                3.63                3.73                    3.76               3.68
                              SD                    0.48           0.26                 0.41                      0.35                      0.32             0.27           0.27                0.32                0.26                    0.25               0.31
        GPA Non-Science       Mean                  3.75           3.87                 3.71                      3.76                      3.85             3.86           3.86                3.82                3.85                    3.86               3.84
                              SD                    0.28           0.17                 0.28                      0.25                      0.12             0.19           0.17                0.21                0.20                    0.18               0.21
        GPA Total             Mean                  3.56           3.80                 3.55                      3.62                      3.69             3.79           3.78                3.71                3.78                    3.80               3.75
                              SD                    0.36           0.20                 0.32                      0.28                      0.24             0.22           0.21                0.25                0.22                    0.20               0.24
        Total Matriculants                           37          5,604                1,856                     1,444                        22            9,599            496               2,698                 642                     314             22,712
        Notes: The means and SDs of MCAT scores are calculated based on data from applicants who applied with MCAT scores. In recent years, approximately 98% of individuals submitted MCAT scores in their applications. In 2022, 53,762 applicants and
        22,011 matriculants were included in the calculations; only the most recent MCAT score is used for individuals who took the exam more than once. The means and SDs of UGPA are calculated based on applicants with available GPA data. In 2022,
        54,969 applicants and 22,562 matriculants were included in the calculations.

        Each academic year includes applicants and matriculants that applied to enter medical school in the fall of the given year. For example, academic year 2022-2023 represents the applicants and matriculants that applied to enter medical school during
        the 2022 application cycle.




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